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                        IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF GEORGIA

                                     SAVANNAH DIVISION

DONALD DAVIS,                                 )
                                              )
               Petitioner,                    )
                                              )
       v.                                     )          CV 420-121
                                              )
STEVE UPTON,                                  )
                                              )
               Respondent.                    )
                                          _________

                                          ORDER
                                          _________

       Upon assignment to the undersigned on December 2, 2021, the Court’s review of the

above-captioned petition for a writ of habeas corpus, filed pursuant to 28 U.S.C.

§ 2254, reveals Petitioner challenges a judgment of conviction entered in the Superior Court

of Dekalb County, which is located in the Northern District of Georgia. It is the practice of

this Court to transfer an action attacking a conviction to the District in which the original

criminal proceedings were conducted. See 28 U.S.C. § 2241(d). Therefore, the Court

ORDERS the transfer of this action to the United States District Court for the Northern

District of Georgia for further consideration. The Court DIRECTS the Clerk to immediately

forward the file to that District.

       SO ORDERED this 3rd day of December, 2021, at Augusta, Georgia.
